                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF NEW YORK


  JOE RITTENHOUSE,
                                                     Civil Action No.
                      Plaintiff,
                                                     COMPLAINT FOR VIOLATIONS
       v.                                            OF THE FEDERAL SECURITIES
                                                     LAWS

   LYDALL INC., MARC T. GILES,
   SARA A. GREENSTEIN, DAVID G.                      JURY TRIAL DEMANDED
   BILLS, JAMES J. CANNON, PAUL W.
   GRAVES, SUZANNE HAMMETT,
   AND KATHERINE C. HARPER,


                      Defendants.



       Plaintiff Joe Rittenhouse (“Plaintiff”) by and through his undersigned attorneys, brings

this action on behalf of himself, and alleges the following based upon personal knowledge as to

those allegations concerning Plaintiff and, as to all other matters, upon the investigation of

counsel, which includes, without limitation: (a) review and analysis of public filings made by

Lydall, Inc. (“Lydall” or the “Company”) and other related parties and non-parties with the

United States Securities and Exchange Commission (“SEC”); (b) review and analysis of press

releases and other publications disseminated by certain of the Defendants (defined below) and

other related non-parties; (c) review of news articles, shareholder communications, and postings

on the Company’s website concerning the Company’s public statements; and (d) review of other

publicly available information concerning Lydall and the Defendants.
                                 SUMMARY OF THE ACTION

       1.       This is an action brought by Plaintiff against Lydall and the Company’s Board of

Directors (the “Board” or the “Individual Defendants”) for their violations of Section 14(a) and

20(a) of the Securities Exchange Act of 1934, 15 U.S.C. §§ 78n(a), 78t(a), and SEC Rule 14a-9,

17 C.F.R. 240.14a-9, in connection with the proposed acquisition of the Company by Unifrax

Holding Co. (“Unifrax”) (the “Proposed Transaction”).

       2.       On June 21, 2021, the Company entered into a definitive merger agreement (the

“Merger Agreement”) with Unifrax.          Pursuant to the terms of the Merger Agreement the

Company’s shareholders will have the right to receive $62.10 in cash for each share of Lydall

owned (the “Merger Consideration”).

       3.       On August 10, 2021, in order to convince the Company’s shareholders to vote in

favor of the Proposed Transaction, the Board authorized the filing of a materially incomplete and

misleading proxy statement with the SEC (the “Proxy Statement”), in violation of Sections 14(a)

and 20(a) of the Exchange Act.

       4.       For these reasons, and as set forth in detail herein, Plaintiff asserts claims against

Lydall and the Board for violations of Sections 14(a) and 20(a) of the Exchange Act and Rule

14a-9. Plaintiff seeks to enjoin Defendants from taking any steps to consummate the Proposed

Transaction unless and until the material information discussed below is disclosed to Lydall

shareholders before the vote on the Proposed Transaction or, in the event the Proposed

Transaction is consummated, recover damages resulting from the Defendants’ violations of the

Exchange Act.




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                                   JURISDICTION AND VENUE

        5.      This Court has subject matter jurisdiction over all claims asserted herein pursuant

to Section 27 of the Exchange Act, 15 U.S.C § 78aa, and 28 U.S.C. § 1331, as Plaintiff alleges

violations of Sections 14(a) and 20(a) of the Exchange Act.

        6.      This Court has personal jurisdiction over all of the Defendants because each is

either a corporation that conducts business in, solicits shareholders in, and/or maintains

operations within, this District, or is an individual who is either present in this District for

jurisdictional purposes or has sufficient minimum contacts with this District so as to make the

exercise of jurisdiction by this Court permissible under traditional notions of fair play and

substantial justice.

        7.      Venue is proper under 28 U.S.C. § 1391 because a substantial portion of the

transactions and wrongs complained of herein occurred in this District.

                                          THE PARTIES

        8.      Plaintiff is, and has been at all times relevant hereto, the owner of Lydall shares.

        9.      Defendant Lydall is incorporated under the laws of Delaware and has its principal

executive offices located at One Colonial Road, Manchester, Connecticut 06042.                    The

Company’s common stock trades on the New York Stock Exchange under the symbol “LDL.”

        10.     Defendant Marc T. Giles (“Giles”) is and has been the Chairman of the Board of

Lydall at all times during the relevant time period.

        11.     Defendant Sara A. Greenstein (“Greenstein”) is and has been the President Chief

Executive Officer (“CEO”) and a director of Lydall at all times during the relevant time period.

        12.     Defendant David G. Bills (“Bills”) is and has been a Lydall director at all times

during the relevant time period.




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       13.     Defendant James J. Cannon (“Cannon”) is and has been a Lydall director at all

times during the relevant time period.

       14.     Defendant Paul W. Graves (“Graves”) is and has been a Lydall director at all

times during the relevant time period.

       15.     Defendant Suzanne Hammett (“Hammett”) is and has a Lydall director at all

times during the relevant time period.

       16.     Defendant Katherine C. Harper (“Harper”) is and has been a Lydall director at all

times during the relevant time period.

       17.     Defendants Giles, Greenstein, Bills, Cannon, Graves, Hammett, and Harper are

collectively referred to herein as the “Individual Defendants.”

       18.     The Individual Defendants, along with Defendant Lydall, are collectively referred

to herein as “Defendants.”

                               SUBSTANTIVE ALLEGATIONS

                                 Background of the Company

       19.     Lydall designs, manufactures, and markets specialty engineered filtration media,

industrial thermal insulating solutions, and automotive thermal and acoustical barriers for

filtration/separation and thermal/acoustical applications worldwide. It operates through

Performance Materials, Technical Nonwovens, and Thermal Acoustical Solutions segments. The

Performance Materials segment offers filtration media solutions for air, fluid power, life science

and industrial applications, gasket and sealing solutions, thermal insulation, energy storage, and

other engineered products. This segment also nonwoven veils, papers, and advanced composite

solutions comprising thermal insulation papers and insulation media for high temperature

technology applications; and life sciences filtration products for biopharmaceutical diagnostic




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and analytical testing, potable water filtration, and high purity process filtration in food,

beverage, and medical applications. The Technical Nonwovens segment offers nonwoven rolled-

good felt media and filter bags used primarily in industrial air and liquid filtration applications.

The Thermal Acoustical Solutions segment offers engineered products for transportation sector

to thermally shield sensitive components from high heat, improve exhaust gas treatment, and

lower harmful emissions, as well as assist in the reduction of noise, vibration, and harshness. Its

products are used in the interior, underbody, and underhood of cars, trucks, SUVs, heavy duty

trucks, and recreational vehicles. The Company markets its products to original equipment

manufacturers, Tier 1, Tier 2, and Tier 3 industrial customers.

                     The Company Announces the Proposed Transaction

       20.     On June 21, 2021, the Company jointly issued a press release announcing the

Proposed Transaction. The press release stated in part:


       TONAWANDA, N.Y. and MANCHESTER, Conn., June 21, 2021 (GLOBE
       NEWSWIRE) -- Unifrax, a leading global provider of high-performance specialty
       materials focused on thermal management, specialty filtration, battery materials,
       emission control and fire protection applications backed by Clearlake Capital
       Group, L.P. (“Clearlake”), today announced it has signed definitive agreements to
       acquire Lydall, Inc. (NYSE: LDL, “Lydall” or the “Company”), a leader in the
       design and production of specialty filtration materials and advanced material
       solutions. With its leading technologies and 23 manufacturing facilities around
       the world, Lydall is well positioned to capitalize on growth in clean air filtration
       and electric vehicle adoption, among many other attractive markets. Under the
       terms of the agreement, Lydall shareholders will receive $62.10 per share in cash
       for each share outstanding, implying a total enterprise value of approximately
       $1.3 billion.

       “The combination of Unifrax and Lydall creates a global specialty materials
       platform with new cutting edge technologies in advanced filtration, electric
       vehicle battery systems, and energy saving applications,” said John Dandolph,
       President and CEO of Unifrax. “The addition of Lydall’s people, technologies,
       and assets to the Unifrax portfolio will help accelerate our innovation pipeline and
       creates a world class platform capable of solving the world’s most pressing
       energy consumption, environmental and filtration challenges. We are excited to



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       partner with a company that is similarly focused on our commitment to a Greener,
       Cleaner, and Safer® world.”

       Sara Greenstein, President and CEO of Lydall, added, “We are excited about the
       combination of Lydall and Unifrax. With this transaction, we are creating a leader
       in specialty filtration and advanced materials with over 250 years of combined
       expertise and experience delivering innovative and compelling solutions to
       customers worldwide.”

       “We have long admired Lydall and what it would bring to our platform
       investment in Unifrax, and could not be more excited about partnering with the
       Company and its team to build one of the world’s leading global specialty
       materials platforms,” said José E. Feliciano, Co-Founder and Managing Partner at
       Clearlake, and Colin Leonard, Partner at Clearlake, in a joint statement. “We have
       supported Unifrax’s development of new technologies over the last few years that
       have the potential to change how we think about the industries in which both
       Unifrax and Lydall operate and inform their futures. The addition of Lydall to the
       Unifrax portfolio and its strong capabilities in advanced filtration creates a global
       platform with significant scale that together can accelerate each company’s
       respective compelling growth plans.”

       Morgan Stanley & Co. LLC acted as lead financial advisor, J.P. Morgan acted as
       financial advisor, and Kirkland & Ellis acted as legal counsel to Unifrax in the
       transaction. BofA Securities is acting as exclusive financial advisor, and Davis
       Polk & Wardwell LLP is acting as legal counsel to Lydall in connection with the
       transaction.

                     FALSE AND MISLEADING STATEMENTS
             AND/OR MATERIAL OMISSIONS IN THE PROXY STATEMENT

       21.     On August 10, 2021, the Company authorized the filing of the Proxy Statement

with the SEC. The Proxy Statement recommends that the Company’s shareholders vote in favor

of the Proposed Transaction.

       22.     Defendants were obligated to carefully review the Proxy Statement prior to its

filing with the SEC and dissemination to the Company’s shareholders to ensure that it did not

contain any material misrepresentations or omissions.           However, the Proxy Statement

misrepresents and/or omits material information that is necessary for the Company’s




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shareholders to make informed decisions regarding whether to vote in favor of the Proposed

Transaction, in violation of Sections 14(a) and 20(a) of the Exchange Act.

                 Material False and Misleading Statements or Material
     Misrepresentations or Omissions Regarding the Company’s Financial Projections

       23.    The Proxy Statement contains projections prepared by the Company’s

management concerning the Proposed Transaction, but fails to provide material information

concerning such.

       24.    The SEC has repeatedly emphasized that disclosure of non-GAAP projections can

be inherently misleading, and has therefore heightened its scrutiny of the use of such

projections. 1 Indeed, on May 17, 2016, the SEC’s Division of Corporation Finance released new

and updated Compliance and Disclosure Interpretations (“C&DIs”) on the use of non-GAAP

financial measures that demonstrate the SEC’s tightening policy. 2 One of the new C&DIs

regarding forward-looking information, such as financial projections, explicitly requires

companies to provide any reconciling metrics that are available without unreasonable efforts.

       25.    In order to make management’s projections included in the Proxy Statement

materially complete and not misleading, Defendants must provide a reconciliation table of the

non-GAAP measures to the most comparable GAAP measures.




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  See, e.g., Nicolas Grabar and Sandra Flow, Non-GAAP Financial Measures: The SEC’s
Evolving Views, Harvard Law School Forum on Corporate Governance and Financial
Regulation (June 24, 2016), available at https://corpgov.law.harvard.edu/2016/06/24/non-gaap-
financial-measuresthesecs evolving-views/; Gretchen Morgenson, Fantasy Math Is Helping
Companies Spin Losses Into Profits, N.Y. Times, Apr. 22, 2016, available at
http://www.nytimes.com/2016/04/24/business/fantasy-mathis-helping-companies-spin-ossesinto-
profits.html?_r=0.
2
 Non-GAAP Financial Measures, Compliance & Disclosure Interpretations, U.S. SECURITIES
AND       EXCHANGE          COMMISSION           (May     17,     2017), available   at
https://www.sec.gov/divisions/corpfin/guidance/nongaapinterp.htm.


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       26.      Specifically, with respect to the Company’s projections, the Company must

disclose the line item projections for the financial metrics that were used to calculate the non-

GAAP measures, including: (i) Adjusted EBITDA; and (ii) Unlevered Free Cash Flow.

       27.      Disclosure of the above information is vital to provide investors with the complete

mix of information necessary to make an informed decision when voting on the Proposed

Transaction.    Specifically, the above information would provide shareholders with a better

understanding of the analyses performed by the Company’s financial advisor in support of its

opinion.

                     Material False and Misleading Statements or Material
                 Misrepresentations or Omissions Regarding the Financial Opinions

       28.      The Proxy Statement contains the financial analyses and opinion of BofA

Securities, Inc. (“BofA”) concerning the Proposed Transaction, but fails to provide material

information concerning such.

       29.      With respect to BofA’s Selected Public Companies Analysis, the Proxy Statement

fails to disclose the individual multiples and metrics for the companies observed in the analysis.

       30.      With respect to BofA’s Selected Precedent Transactions Analysis, the Proxy

Statement fails to disclose the individual multiples and metrics for the transactions observed in

the analysis.

       31.      With respect to BofA’s Discounted Cash Flow Analysis for the Company, the

Proxy Statement also fails to disclose: (i) the Company’s terminal values; (ii) the inputs and

assumptions underlying BofA’s use of the multiples ranging from 7.0x to 9.0x; and (iii) the

inputs and assumptions underlying BofA’s use of the discount rate range of 9.0% to 12.0%.

       32.      With respect to BofA’s price targets analysis, the Proxy Statement fails to

disclose the specific price targets observed, as well as the sources thereof.



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          33.   When a banker’s endorsement of the fairness of a transaction is touted to

shareholders, the valuation methods used to arrive at that opinion as well as the key inputs and

range of ultimate values generated by those analyses must also be fairly disclosed. Moreover,

the disclosure of projected financial information is material because it provides shareholders with

a basis to project the future financial performance of a company and allows shareholders to

better understand the financial analyses performed by the Company’s financial advisor in support

of its fairness opinion.

          34.   Without the above described information, the Company’s shareholders are unable

to cast a fully informed vote on the Proposed Transactions. Accordingly, in order to provide

shareholders with a complete mix of information, the omitted information described above

should be disclosed.

                                              COUNT I

                     (Against All Defendants for Violations of Section 14(a)
                of the Exchange Act and Rule 14a-9 Promulgated Thereunder)

          35.   Plaintiff incorporates each and every allegation set forth above as if fully set forth

herein.

          36.   Section 14(a)(1) of the Exchange Act makes it “unlawful for any person, by the

use of the mails or by any means or instrumentality of interstate commerce or of any facility of a

national securities exchange or otherwise, in contravention of such rules and regulations as the

Commission may prescribe as necessary or appropriate in the public interest or for the protection

of investors, to solicit or to permit the use of his name to solicit any proxy or consent or

authorization in respect of any security (other than an exempted security) registered pursuant to

section 78l of this title.” 15 U.S.C. § 78n(a)(1).

          37.   Rule 14a-9, promulgated by the SEC pursuant to Section 14(a) of the Exchange



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Act, provides that communications with stockholders in a recommendation statement shall not

contain “any statement which, at the time and in the light of the circumstances under which it is

made, is false or misleading with respect to any material fact, or which omits to state any

material fact necessary in order to make the statements therein not false or misleading.” 17

C.F.R. § 240.14a-9.

       38.     Defendants have issued the Proxy Statement with the intention of soliciting

shareholders support for the Proposed Transaction. Each of the Defendants reviewed and

authorized the dissemination of the Proxy Statement, which fails to provide critical information

regarding, among other things, the financial projections for the Company.

       39.     In so doing, Defendants made untrue statements of fact and/or omitted material

facts necessary to make the statements made not misleading. Each of the Defendants, by virtue

of their roles as officers and/or directors, were aware of the omitted information but failed to

disclose such information, in violation of Section 14(a). The Defendants were therefore

negligent, as they had reasonable grounds to believe material facts existed that were misstated or

omitted from the Proxy Statement, but nonetheless failed to obtain and disclose such information

to shareholders although they could have done so without extraordinary effort.

       40.     The Defendants knew or were negligent in not knowing that the Proxy Statement

is materially misleading and omits material facts that are necessary to render it not misleading.

The Defendants undoubtedly reviewed and relied upon the omitted information identified above

in connection with their decision to approve and recommend the Proposed Transaction.

       41.     The Defendants knew or were negligent in not knowing that the material

information identified above has been omitted from the Proxy Statement, rendering the sections

of the Proxy Statement identified above to be materially incomplete and misleading. Indeed, the




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Defendants were required to be particularly attentive to the procedures followed in preparing the

Proxy Statement and review it carefully before it was disseminated, to corroborate that there are

no material misstatements or omissions.

          42.   The Defendants were, at the very least, negligent in preparing and reviewing the

Proxy Statement. The preparation of a Proxy Statement by corporate insiders containing

materially false or misleading statements or omitting a material fact constitutes negligence. The

Defendants were negligent in choosing to omit material information from the Proxy Statement or

failing to notice the material omissions in the Proxy Statement upon reviewing it, which they

were required to do carefully as the Company’s directors. Indeed, the Defendants were

intricately involved in the process leading up to the signing of the Merger Agreement and the

preparation of the Company’s financial projections.

          43.   The misrepresentations and omissions in the Proxy Statement are material to

Plaintiff, who will be deprived of his right to cast an informed vote if such misrepresentations

and omissions are not corrected prior to the vote on the Proposed Transaction.

          44.   Plaintiff has no adequate remedy at law. Only through the exercise of this Court’s

equitable powers can Plaintiff be fully protected from the immediate and irreparable injury that

Defendants’ actions threaten to inflict.

                                             COUNT II

                            (Against the Individual Defendants for
                        Violations of Section 20(a) of the Exchange Act)

          45.   Plaintiff incorporates each and every allegation set forth above as if fully set forth

herein.

          46.   The Individual Defendants acted as controlling persons of Lydall within the

meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their positions as



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officers and/or directors of Lydall, and participation in and/or awareness of the Company’s

operations and/or intimate knowledge of the incomplete and misleading statements contained in

the Proxy Statement filed with the SEC, they had the power to influence and control and did

influence and control, directly or indirectly, the decision making of the Company, including the

content and dissemination of the various statements that Plaintiff contends are materially

incomplete and misleading.

       47.     Each of the Individual Defendants was provided with, or had unlimited access to,

copies of the Proxy Statement and other statements alleged by Plaintiff to be misleading prior to

and/or shortly after these statements were issued and had the ability to prevent the issuance of the

statements or cause the statements to be corrected.

       48.     In particular, each of the Individual Defendants had direct and supervisory

involvement in the day-to-day operations of the Company, and, therefore, is presumed to have

had the power to control or influence the particular transactions giving rise to the Exchange Act

violations alleged herein, and exercised the same. The Proxy Statement at issue contains the

unanimous recommendation of each of the Individual Defendants to approve the Proposed

Transaction. They were thus directly involved in preparing this document.

       49.     In addition, as set forth in the Proxy Statement sets forth at length and described

herein, the Individual Defendants were involved in negotiating, reviewing, and approving the

Merger Agreement. The Proxy Statement purports to describe the various issues and information

that the Individual Defendants reviewed and considered. The Individual Defendants participated

in drafting and/or gave their input on the content of those descriptions.

       50.     By virtue of the foregoing, the Individual Defendants have violated Section 20(a)

of the Exchange Act.




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       51.     As set forth above, the Individual Defendants had the ability to exercise control

over and did control a person or persons who have each violated Section 14(a) and Rule 14a-9 by

their acts and omissions as alleged herein. By virtue of their positions as controlling persons,

these Defendants are liable pursuant to Section 20(a) of the Exchange Act. As a direct and

proximate result of Individual Defendants’ conduct, Plaintiff will be irreparably harmed.

       52.     Plaintiff has no adequate remedy at law. Only through the exercise of this Court’s

equitable powers can Plaintiff be fully protected from the immediate and irreparable injury that

Defendants’ actions threaten to inflict.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for judgment and relief as follows:

       A.      Preliminarily and permanently enjoining Defendants and all persons acting in

concert with them from proceeding with, consummating, or closing the Proposed Transaction;

       B.      Directing the Individual Defendants to disseminate an Amendment to the Proxy

Statement that does not contain any untrue statements of material fact and that states all material

facts required in it or necessary to make the statements contained therein not misleading;

       C.      Directing Defendants to account to Plaintiff for all damages sustained because of

the wrongs complained of herein;

       D.      Awarding Plaintiff the costs of this action, including reasonable allowance for

Plaintiff’s attorneys’ and experts’ fees; and

       E.      Granting such other and further relief as this Court may deem just and proper.

                                           JURY DEMAND




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Plaintiff demands a trial by jury on all issues so triable.

Dated: August 20, 2021                                        Respectfully submitted,

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                                                              Attorneys for Plaintiff




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